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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION

) CASENO. SACV12 — 1448 AG

WILLIAM WILBER et al., ) GPRX)
)

Plaintiffs, )°
v. ) STIPULATION TO VACATE

) THE AMENDED JUDGMENT

TOP GLOBAL CAPITAL, INC. et al. )
)

Defendants. ) Judge: Hon. Andrew J, Guilford

)
)
)
)

IT IS HEREBY STIPULATED by and between Plaintiffs WILLIAM

WILBER, NICOLE KHARZI, KAREN OLDMIXON, LARRY CAIN, ROBYN

JAMISON, OTTO FOX, GAIL YOUNG, MARK THOMAS, CINDY A\
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STIPULATION TO VACATE THE AMENDED JUDGMENT

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DICOSIMO, CAROL WINKLER AND DAVID WINKLER (“Plaintiffs”) and

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Defendant METAQUOTES SOFTWARE CORP. (“MetaQuotes”), by and through
their counsel, that:

1. On October 9, 2013, an entry of default against Defendant
MetaQuotes was entered by the clerk ofthe court. (“Entry of Default,” Dkt. No.

98.)

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2, Pursuant to the entry of default, on December 4, 2013, a default

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judgment was entered against all defendants, including MetaQuotes. However, the

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default judgment contained an incorrect docket number of 13-01448, rather than

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12-01448. (Original Default Judgment,” Dkt. No. 105.)

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3, Plaintiffs discovered the incorrect docket number in the Original

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Default Judgment. In order to correct this clerical error, Plaintiffs intended to file

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an Ex Parte Application, On or around February 24, 2014, Plaintiffs contacted

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opposing counsels, Martin F. Triano (“Triano”) and Mark D. Byrne (“Byrne”)

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through email, and sought their consent in order to file the Ex Parte Application.

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Byrne responded with his consent to correct the error in the Case Number, printed

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at the top of the page on Document 105 by the Clerk of the Court. A true and

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correct copy of this email exchange is attached as Exhibit A.

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als TD) S48-081 2
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STIPULATION TO VACATE THE AMENDED JUDGMENT

 

 

 

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Case 8:12-cv-01448-AG-JPR Document 166 Filed 06/12/15 Page 3o0f6 Page ID #:3960

] 4, Plaintiffs fiied an Ex Parte Application to correct the docket

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number referenced in the Original Default Judgment. Plaintiffs’ application
specifically described that Document 105 bears on its first page the docket number
13-01448, while the correct docket number for the instant matter is 12-01448. (“Ex
Parte Application,” Dkt. No. 113.)

5. Following, the Court filed an amended default judgment that corrected

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19} the referenced docket number. (“Amended Default Judgment,” Dkt. No. 114.)

M 6. The Parties do not dispute that the sole purpose for the Amended

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13|| Default Iudgment was to correct the docket number.

. 7, The Parties do not dispute that the Original Default Judgment and the
16] Amended Default Judgment are identical in substance, with a minor difference

, being only the referenced docket number,

19 8. Onor around March 12, 2014, MetaQuotes then filed a Motion to Set
. Aside Default and Default Judgment. (“MetaQuotes’ Motion,” Dkt. No. 118.)

22) However, Metaquotes’ Notice of Motion referred only to setting aside the Original
. Default Judgment, inadvertently omitting references to the Amended Default

. Judgment. However, both the Original Default Judgment and the Amended

27| Default Judgment were described in MetaQuotes’ Memorandum of Points and

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Authorities. (“Memorandum of Points and Authorities,” Dk. No. 118, page 27.)

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Both the Original Default Judgment and the Amended Default Judgment were also

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described in MetaQuotes’ Memorandum of Points and Authorities in support of the
Reply. (“Reply Memorandum Points and Authorities, Dkt. No. 127, p. 22.)

9, On June 5, 2014, the Court granted MetaQuotes’ Motion with the
condition that MetaQuotes posts a $50,000 Bond. (“June 5, 2014 Order,” Dict. No.

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10. The $50,000 Bond was posted, and entered into the Court’s docket, on

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June 18, 2014. (Dkt. No. 132.) The Triano Certification was also filed on June 18,

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2014, (Dkt. No. 133.)

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11. Plaintiffs stipulated that they had no objection to the Bond or the

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Triano Certification or any other objections as to the sufficiency of the showing as

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to the fulfillment of conditions for posting a bond. (“Stipulation,” Dkt. No. 136.)

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19 12. The Parties agreed that the condition in the June 5, 2014 Order had
been satisfied by MetaQuotes.

22 13. Asaresult, the Court issued an Order on July 9, 2014 setting aside the
94| entry of default and vacating the default judgment as to MetaQuotes. (“Order
Vacating Judgment,” Diet No. 137.)

27 14. The Parties were under the belief that the Order Vacating Judgment \

applied to the Original Default Judgment and the Amended Default Judgment.

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I 15. Based on this belief, the Parties have proceeded as if there were no

2! outstanding defaults and default judgments against MetaQuotes. For example, on

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or around August 30, 2014, Plaintiffs filed an Amended Complaint against
MetaQuotes. (“Amended Complaint,” Dkt. No. 138.)
16. On or around September 15, 2014, MetaQuotes responded by filing a

Motion to Dismiss the Amended Complaint. (“Motion to Dismiss,” Dkt, No. 139.)

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10 17, On or around November 4, 2015, the Court issued an order granting

‘Ii the Motion to Dismiss as to all but one claim, (“Minutes (In Chamber) Order,”

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13] Dkt. No. 148.)

. 18. With one outstanding claim against MetaQuotes, the Parties

16} proceeded to enter into a scheduling order and are presently undergoing discovery.
: 19. On June 5, 2015, the Court issued a Writ of Execution naming all

19) defaulting defendants, which included MetaQuotes as one of the Judgment

i. Debtors. (Dkt, No, 164.)

22 20, Based on the Parties’ mutual belief that the default judgment against
., MeiaQuotes had already been vacated, the Parties conferred and sought remedies
. to remove MetaQuotes from the Writ of Execution.

27 21. OnJune 9, 2015, the clerk of the court emailed both Parties and noted

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that the Amended Default Judgment had not been formally vacated. In order og

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li properly vacate the Amended Default Judgment, the Court advised MetaQuotes to
file a Stipulation and Proposed Order. A copy of the clerk’s email is attached as

Exhibit B.

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22. Pursuant to the Court’s request, MetaQuotes files this Stipulation
along with a Proposed Amended Order Setting Aside the Default Judgment.

23. The Parties do not dispute that they believed the July 9, 2014 Order of

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101 the Court intended to vacate both the Original Default Judgment and the Amended

1) Default Judgment as to MetaQuotes.

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13 24, The Parties do not dispute that after the issuance of the July 9, 2014
. Order setting aside the default and vacating the judgment, both Parties continued to
16} proceed under the belief that no outstanding defaults and default judgments existed
7 against MetaQuotes.

19] Date: June 11, 2015 PHEALLIPS LYTLE LLP
21 7

ROBERT CORNISH, ESQ, )

    

 

22 Attorney for Plaintiffs
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24! Date: Fune 11, 2015 CBS/OF TRIANO & BYRNE
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